Case 1:10-cr-00384-LEK Document 1259 Filed 12/16/19 Page 1 of 3       PageID #: 8597




 MK Law LLC
 Megan K. Kau 8078
 820 Mililani Street, Suite 701
 Honolulu, Hawai`i 96813
 Phone:       (808) 864-8896
 Email:       mk@megkaulaw.com

 Attorney for Defendant
 WESLEY MARK SUDBURY

                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAI`I

  UNITED STATES OF AMERICA,                CR. NO. 10-00384-06 LEK

                      Plaintiff,           MEGAN K. KAU’S MOTION TO
                                           WITHDRAW AS COUNSEL FOR
              vs.                          WESLEY MARK SUDBURY;
                                           CERTIFICATE OF SERVICE.
  WESLEY MARK SUDBURY,

                      Defendant.


  MEGAN K. KAU’S MOTION TO WITHDRAW AS COUNSEL FOR WESLEY
                       MARK SUDBURY

    Counsel for Wesley Mark Sudbury, Megan K. Kau, hereby moves this Court for

 an order permitting her to withdraw as counsel. The withdrawal should be granted

 because there has been an actual breakdown in communication between counsel

 and Mr. Sudbury. Mr. Sudbury refuses to talk with counsel in person and wants

 everything in writing, presumably because he believes counsel should have filed a
Case 1:10-cr-00384-LEK Document 1259 Filed 12/16/19 Page 2 of 3      PageID #: 8598




 reply memorandum supporting Defendant Wesley Sudbury’s Motion to Exclude

 Evidence Pursuant to 18 U.S.C. § 2515 and counsel chose not to do so.

    This motion is made pursuant to Rule 47 of the Federal Rules of Criminal

 Procedure and CrimLR 12.3. The motion is based on CrimLR 57.8 and is

 supported by the attached memorandum and declaration of counsel.

       DATED: Honolulu, Hawai`i; December 16, 2019.


                                          /s/ Megan K. Kau
                                         MEGAN K. KAU
                                         Attorney for Defendant
                                         WESLEY MARK SUDBURY




                                        2
Case 1:10-cr-00384-LEK Document 1259 Filed 12/16/19 Page 3 of 3           PageID #: 8599




                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAI`I

 UNITED STATES OF AMERICA,                    CR. NO. 10-00384-06 LEK

                 Plaintiff,                   CERTIFICATE OF SERVICE
       vs.

 WESLEY MARK SUDBURY,

                 Defendant.


                              CERTIFICATE OF SERVICE

    I hereby certify that, upon filing, a true and correct copy of the foregoing will

 be personally served on the following at their last known addresses:

       THOMAS MUEHLECK                                                    via CM/ECF
       MARGARET C. NAMMAR
       Assistant United States Attorney
       Room 6-100, PJKK Federal Building
       300 Ala Moana Boulevard
       Honolulu, Hawai`i 96850
             Attorney for Plaintiff
             United States of America


              Dated: Honolulu, Hawai`i, December 16, 2019

                                          /s/ Megan K. Kau
                                         MEGAN K. KAU
                                         Attorney for Defendant
                                         WESLEY MARK SUDBURY
